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IN THE UNITED STATES DIsTRIcT coURT mm BY l D_Q
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YouNG's TRADING coMPANY, 'W:-F " ‘i?LPHLS

Plaintiff,
vs. Civ. No. 03-2637-P
FANCY IMPORT, INC., et al.,

Defendants.

 

ORDER CONTINUING TRIAL DATE AND SETTING HEARING ON PLAINTIFF'S
MOTION FOR DEFAULT JUDGMENT AGAINST DEFENDANT HOON G. JEONG AND
DEFENDANT'S MOTION TO EXCLUDE EXPERT TESTIMONY

 

On September 2, 2005, the court held a pretrial conference in
this case. Present were Beth Brooks, counsel for the plaintiffs,
and A. Todd Merolla, counsel for all defendants except defendant
Hoon Jeong, who is pro se and failed to appear. At the conference,
the court continued the trial date and set hearing dates as
follows:

1. The jury trial is reset to Tuesday, November 8, 2005, at
10:00 a.m. The proposed joint pretrial order is due October 18,
2005 by 4:30 p.m. with a courtesy copy hand-delivered to Judge
Pham's chambers. The pretrial conference is reset to October 25,

2005, at lO:OO a.m.

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2. Defendants1 oral motion for leave of court to file an
amended answer to add a counterclaim is granted. The amended
answer shall be served and filed by September 9, 2005. Defendants
may conduct limited discovery on issues relating to the
counterclaim.

3. A hearing on plaintiffs' motion for default judgment
against pro se defendant Hoon Jeong is set for September 28, 2005,
at 1:30 p.m. in Courtroom 6.

4. A hearing on defendants' motion to exclude expert
testimony is set for September 28, 2005 at 2:30 p.m. in Courtroom
#6.

5. The parties agree to engage in private mediation or, if

available, a judicial settlement conference.

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TU M. PHAM
United States Magistrate Judge

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IT IS SO ORDERED.

UNITED sTTEASDISTIC COURT - WESTRNE D"'TRCT oFTENNESSEE

     

Notice of Distribution

This notice confirms a copy of the document docketed as number 97 in
case 2:03-CV-02637 Was distributed by faX, mail, or direct printing on
September 8, 2005 to the parties listed.

 

 

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Honorable Tu Pham
US DISTRICT COURT

